                Case:
ILND 450 (Rev. 10/13)    1:21-cv-00532
                      Judgment in a Civil Action   Document #: 28 Filed: 10/20/21 Page 1 of 1 PageID #:127

                                         THE UNITED STATES DISTRICT COURT
                                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                 EASTERN DIVISION

 ADRIANE JEFFERSON,                                             )
 individually and on behalf of all others                       )
 similarly situated                                             )         No. 21 C 532
                                                                )
                               Plaintiff,                       )         Judge Virginia M. Kendall
           v.                                                   )
                                                                )
 CREDIT ONE BANK, N.A.,                                         )
                                                                )
                                Defendant.                      )


                                        JUDGMENT IN A CIVIL CASE
Judgment is hereby entered (check appropriate box):
              in favor of Plaintiff (s)

                    and against Defendant (s)

                              which          includes       pre–judgment interest.
                                             does not include pre–judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.
          Plaintiff(s) shall recover costs from defendant(s).


                    in favor of Defendant(s) CREDIT ONE BANK, N.A

                and against Plaintiff(s) ADRIANE JEFFERSON
          Defendant(s) shall recover costs from plaintiff(s).


                              other:

This action was (check one):

     tried by a jury with Judge Virginia M. Kendall presiding, and the Jury has rendered a verdict.
     tried by Judge Virginia M. Kendall without a jury and the above decision was reached.
     decided by Judge Virginia M. Kendall on a Motion to compel arbitration and dismiss complaint.

Date: 10/20/2021                                                    Thomas G. Bruton, Clerk of Court

                                                                    /s/Lynn Kandziora , Deputy Clerk
